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 4   Attorney for Defendant: KHALED AHMED
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 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                       )        Cr.S-03-432 MCE
                                                     )        Cr.S-02-097 MCE
12                                    Plaintiff,     )
                                                     )
13                       v.                          )         STIPULATION
                                                     )             AND
14   KHALED AHMED,                                   )       ORDER THEREON
                                                     )
15                                  Defendant,       )
                                                     )
16
17         It is hereby stipulated between counsel for the government and the defendant that
18   the terms and conditions of the defendant’s pretrial release, which were imposed in the
19   first case and re-imposed in the second case, and modified by this Court on March 30,
20   2004, may be further modified as follows:
21         1. Defendant may travel, for compassionate family reasons, to Egypt, leaving on
22   as soon as reservations can be arranged and returning no later than June 17, 2005.
23         2. Clerk may be directed to release defendant’s passport to he or his counsel upon
24   the filing of this order and the defendant is directed to return said passport to his counsel
25   withing 24 hours of his return so that it may be returned to the court.
26         3. Defendant’s father is seriously ill in Cairo, Egypt. Defendant has produced to
27   government counsel a copy of the letter from his father’s physician, Dr. Saqqa, M.D. that
28   provides general information about his father’s current medical condition. Government
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 1   counsel is satisfied with the contents of the doctor’s letter and is not opposed to
 2   defendant’s t rravel request to Egypt.
 3         4. Defendant will be departing Los Angeles bound for Amsterdam as soon a
 4   reservations can be made, and will be departing the following day for Cairo, Egypt.
 5         This is the defendant’s third request for permission to travel to Egypt where his
 6   family resides. There were no problems with defendant’s earlier trips and his passport
 7   was returned to counsel and it was subsequently returned to the Clerk of this court.
 8   Counsel for the government has been consulted and does not oppose the request and has
 9   authorized the presenting of this stipulation and order.
10   Dated: May 20, 2005                                 Dated: May 20, 2005
11
12
13   STEVEN D. BAUER                                     DANIEL S. LINHARDT
     Attorney for Defendant                              Assistant United States Attorney
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15
16   IT IS SO ORDERED
17   Dated: May 27, 2005
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                                              ___________________________________
                                              MORRISON C. ENGLAND, JR
21                                            UNITED STATES DISTRICT JUDGE
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